                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

IN RE:
                                                          Case No. 20-41079-mar
Neal A. Malega                                            Honorable Mark A. Randon
Jacqueline M. Foley                                       Chapter 13

____ Debtors__________ _____/


ORDER GRANTING DEBTORS’ OBJECTION TO PROOF OF CLAIM NO. 13 FILED
            BY MICHIGAN DEPARTMENT OF TREASURY

        This matter having come before the Court by way of objection of the Chapter 13
Debtor(s) to the allowance of above-referenced claim and service having been made with a
notice of hearing allowing a thirty (30) day notice period pursuant to F.R.Bankr.P. 3007, the
requisite time having passed without a response having been timely served and the Court being
otherwise sufficiently advised in the premises;

      IT IS HEREBY ORDERED that Claim No. 13 is allowed only as a total claim of
$556.13 with $499.43 as a priority claim and $56.70 as a general unsecured claim.
Signed on November 30, 2020




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